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 8
                                UNITED STATES DISTRICT COURT
 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
10
11
     S.Y., Z.D., Y.W., H.G., W.X.,
12
            Plaintiffs,
13                                                   Case No. 4:25-cv-03244-JSW
14          v.

15   Kristi NOEM, in her official capacity, Secretary, PLAINTIFFS’ REPLY IN
     U.S. Department of Homeland Security;             SUPPORT OF MOTION FOR
16                                                     TEMPORARY RESTRAINING
17   Todd M. LYONS, in his official capacity,          ORDER
     Acting Director, Immigration and Customs
18   Enforcement, U.S. Department of Homeland          Request for Declaratory and
     Security;                                         Injunctive Relief
19
20   Moises BECERRA, in his official capacity,       Judge: Hon. Jeffrey S. White
     Acting Field Office Director of San Francisco   Hearing Date: April 25, 2025
21   Office of Detention and Removal, U.S.           Hearing Time: 9:00 a.m.
     Immigrations and Customs Enforcement, U.S.
22
     Department of Homeland Security; and
23
     Donald J. TRUMP, in his official capacity,
24   President of the United States of America;
25
            Defendants.
26
27
28
     S.Y. v. Noem, et al., No. 5:25-cv-03244- JSW
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      USCIS Notice of Intent to Deny Nonimmigrant Change of Status Petition, Issued to a
 1
      Similarly Situated Noncitizen (not Plaintiffs here) on April 18, 2025:
 2
           According to the beneficiary’s SEVIS Record [] their F-1 nonimmigrant status was
 3         terminated on April 10, 2025 because of the criminal records check and the
           revocation of their F-1 visa….It appears that the beneficiary is not in valid F-1
 4
           nonimmigrant status, as such, the request for a change of nonimmigrant status may
 5         not be approved….As such, the beneficiary failed to maintain the beneficiary’s
           nonimmigrant status.
 6
 7    Attached as Exhibit A.

 8    Declaration of Brian Childs, Designated School Official for Western Michigan University:
 9         [I]f the SEVIS record is terminated for a violation of F-1 status, we inform the
10         student that there is no grace period and they are required to leave the United
           States immediately. … Regardless of the reason for the termination, all SEVIS
11         terminations result in the loss of all benefits by the student associated with their
           student status.
12         …
13         [I]f a student was terminated in SEVIS, but still seen to be in F-1 status, it would
           be impossible for WMU to comply with the federal regulatory requirements and
14         thus the student would also be noncompliant with the regulations. In addition, after
           the termination of a SEVIS record, a DSO cannot print an I-20 for the student. It is
15         and has always been the understanding of WMU that all F-2 international students
16         must maintain a valid I-20 in SEVIS in order to remain in valid F-1 status.
           …
17         Even prior to the March and April 2025 SEVIS terminations, it has always been
           clear that once an F-1 student’s record in SEVIS is terminated, regardless of the
18
           reason, that student immediately loses all on- and off-campus employment
19         authorization based on their F-1 nonimmigrant status.

20    Attached as Exhibit B.
21
      The Honorable Judge Ana C. Reyes Questioning Assistant U.S. Attorney Joseph F.
22    Carrilli Jr. on April 16, 2025:

23         Do you realize that this is Kafkaesque? I've got two experienced immigration
24         lawyers on behalf of a client who is months away from graduation, who has done
           nothing wrong, who has been terminated from a system that you all keep telling
25         me has no effect on his immigration status, although that clearly is BS.
26    Attached as Exhibit C.
27
      Testimony From Expert Witness Stephen Navarre in Nali v. Noem, et al., 1:25-cv-03969
28
     S.Y. v. Noem, et al., No. 5:25-cv-03244- JSW
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      (N.D. Ill. Apr. 18, 2025)
 1
 2          [T]his is not an opinion; this is a fact. If Mr. Nali’s SEVIS system status remains
            terminated, he is positively, absolutely ineligible to be accorded work
 3          authorization by USCIS under the OPT program.
 4
            You cannot participate in this F-1 student program fully without an active SEVIS
 5          record.

 6   Attached as Exhibit E.
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15      2020 WL 6826200 (C.D. Cal. Nov. 20, 2020) .......................................................................... 11
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19   Fan v. Brewer,
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21      935 F.3d 172 (3d Cir. 2019) ........................................................................................................ 6
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 6   Newman v. Sathyavaglswaran,
 7     287 F.3d 786 (9th Cir. 2002) ..................................................................................................... 11
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 8     408 U.S. 593, 601–03 (1972) .................................................................................................... 11
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16   Winter v. Nat. Res. Def. Council, Inc.,
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 1       I.      INTRODUCTION
 2       Plaintiffs S.Y., Z.D., Y.W., H.G., and W.X are noncitizen international students from
 3   several countries who have had the educational and professional lives torn apart abruptly,
 4   unfairly, and unlawfully when they found out that their Student and Exchange Visitor
 5   Information Systems (“SEVIS”) records were unceremoniously terminated by U.S. Immigration
 6   and Customs Enforcement (“ICE”) as part of a wave of SEVIS terminations and F-1 visa
 7   revocations during the past several weeks. They are several of over a thousand international
 8   students who have faced the same unlawful actions by Defendants. 1 No matter how the
 9   Defendants try to justify or explain the actions, they are not able to do so in a way that
10   demonstrates compliance with law.
11            ICE’s widespread policy and practice of unlawful terminations appears to be designed to
12   coerce students and post-graduate workers, including Plaintiffs, into abandoning their studies or
13   post-graduate employment and choosing to voluntarily leave the country, despite not having
14   violated their status. As part of that policy, ICE has engaged in highly publicized arrests of
15   students and post-graduate workers who presented no flight risk or danger, often with no prior
16   notice that anything regarding their status was amiss or problematic, whisking them away from
17   their campuses to faraway detention centers without warning. 2 See Declaration of Zachary
18   1
       See International Student Visas Revoked, INSIDE HIGHER ED,
19   https://www.insidehighered.com/news/global/international-students-us/2025/04/07/where-
     students-have-had-their-visas-revoked (last accessed Apr. 22, 2025); Binkley, Collin, Annie Ma,
20   and Makiya Seminera, Federal officials are quietly terminating the legal residency of some
     international college students, Associated Press, April 4, 2025,
21   https://apnews.com/article/college-international-student-f1-visa-ice-trump-
22   7a1d186c06a5fdb2f64506dcf208105a; Kaleem, Jaweed, Trump administration cancels dozens of
     international student visas at University of California, Stanford, Los Angeles Times, April 5,
23   2025, https://www.latimes.com/california/story/2025-04-05/trump-administration-cancels-
     international-student-visas-university-of-california-stanford
24   2
       See, e.g., McKinnon de Kuyper, Mahmoud Khalil’s Lawyers Release Video of His Arrest, N.Y.
25   Times (Mar. 15, 2025), available at
     https://www.nytimes.com/video/us/politics/100000010054472/mahmoud-khalils-arrest.html
26   (Mahmoud Khalil, arrested in New York and transferred to Louisiana); “What we know about
     the Tufts University PhD student detained by federal agents,” CNN (Mar. 28, 2025),
27
     https://www.cnn.com/2025/03/27/us/rumeysa-ozturk-detained-what-we-know/index.html
28   (Rumeysa Ozturk, arrested in Boston and transferred to Louisiana); Kyle Cheney & Josh
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 1   Nightingale (“ZN Decl.) at Exhibit (“Exh.”) G (Declaration of Linus Chan); Id. at Exh. H
 2   (Declaration of Ami Hutchinson); Id. at Exh. I (TRO issued in Mohammed H. v. Trump, et al.,
 3   No. 25-cv-01576-JWB-DTS); Id. at Exh. J (Notice to Appear Issued to Noncitizen Whose
 4   SEVIS Record Was Terminated by ICE and Whose F-1 Visa Was Revoked, Leading ICE to
 5   Initiate Removal Proceedings Under 8 U.S.C. § 1227(a)(1)(B)). The terminations have also
 6   taken place against the backdrop of numerous threats issued to universities to cut off billions of
 7   dollars of federal funding and retribution against others who have dared to criticize or go
 8   against the administration. 3
 9          This is an unprecedented moment in U.S. history, and one that warrants a commensurate
10   response from the courts. As an ultimate remedy, Plaintiffs are asking that their SEVIS records
11   be restored to the status they had before termination, with the commensurate restoration of their
12   nonimmigrant visa status to the extent it has been interrupted. Meanwhile, the relief Plaintiffs
13   currently seek through their motion for a temporary restraining order (“TRO”) only serves to
14   preserve the status quo ante litem prior to April 4, 2025. That temporary remedy ensures that
15   Plaintiffs are not unlawfully arrested, separated from their communities, and incarcerated in an
16   immigration jail like numerous other similarly situated noncitizens who ICE has victimized in
17   the last several weeks. ZN Decl. at Exh. J; see also Hernandez v. Sessions, 872 F.3d 976, 995
18   (9th Cir. 2017) (“noting irreparable harms imposed on anyone subject to immigration detention”
19   ). The TRO also enables Plaintiffs to maintain the same rights they had before the illegal
20
     Gerstein, Trump is seeking to deport another academic who is legally in the country, lawsuit
21   says, Politico (Mar. 19, 2025), available at https://www.politico.com/news/2025/03/19/trump-
22   deportationgeorgetown-graduate-student-00239754 (Badar Khan Suri, arrested in Arlington,
     Virginia and transferred to Texas); See also ZN Decl. at Exh. G (Declaration of Linus Chan); Id.
23   at Exh. I (TRO issued in Mohammed H. v. Trump, et al., No. 25-cv-01576-JWB-DTS, Dkt. 15);
     see also id. at Exh. J (Notice to Appear Issued to Noncitizen Whose SEVIS Record Was
24
     Terminated by ICE and Whose F-1 Visa Was Revoked, Leading ICE to Initiate Removal
25   Proceedings Under 8 U.S.C. § 1227(a)(1)(B)).
     3
       See, e.g., “Trump administration freezes $2 billion after Harvard rejects demands,” NBC (Apr.
26   14, 2025), available at: https://www.nbcnews.com/news/us-news/harvard-rejects-trump-
     administration-demands-threats-funding-cuts-rcna201203; “A List of Who Trump Has Targeted
27
     for Retribution,” N.Y. Times (Apr. 7, 2025), available at:
28   https://www.nytimes.com/interactive/2025/04/07/us/trump-revenge-list.html.
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 1   termination of their SEVIS records, including the ability to continue their education in school,
 2   or employment in practical training, and then apply for the next visa status to which they would
 3   normally be eligible. Such temporary remedies are well within the scope of measures that the
 4   Court has authority to take to protect litigants and manage proceedings, as evidenced by the
 5   dozens of TROs granted by other courts throughout the country in identical or significantly
 6   similar litigation. ZN Decl. at Exh. K (TROs Issued to Similarly Situated Noncitizens). 4
 7       II.      ARGUMENT
 8                a. Plaintiffs Seek to Maintain the Status Quo Through the TRO.
 9       As an initial matter, the Court should reject Defendants’ assertion that Plaintiffs’ motion
10   seeks to alter the status quo. See Dkt. 19, Defendants’ Opposition (“Opp.”) at pp. 7-9. In this
11   case, a TRO would merely restore Plaintiffs to the uncontested statuses they held prior to
12   Defendants’ unlawful actions, which began on April 4, 2025. This would preserve, not alter, the
13   status quo, which “refers not simply to any situation before the filing of a lawsuit, but instead to
14   ‘the last uncontested status which preceded the pending controversy.’” See GoTo.com, Inc. v.
15   Walt Disney Co., 202 F.3d 1199, 1210 (9th Cir. 2000) (internal citations omitted); see also Al
16   Otro Lado v. Wolf, 497 F. Supp. 3d 914, 925 (S.D. Cal. 2020) (same, collecting cases in
17   immigration context). Finding otherwise “would lead to absurd situations, in which plaintiffs
18   could never bring suit once infringing conduct had [already] begun.” GoTo.com, Inc., 202 F.3d
19   at 1210.
20       Here, the last uncontested status existed prior to the Defendants’ actions terminating the
21   SEVIS records of Plaintiffs. See id. Defendants’ assertion that Plaintiffs are seeking
22   reinstatement of their SEVIS records at this time is incorrect. Opp. at pp. 7-8. The TRO asks the
23   Court to, among other actions, “[e]njoin any legal effect that the unlawful termination of
24   4
      See, e.g., W.B. v. Noem et al., 25-cv-03407 (N.D. Cal., Apr. 23, 2025); Chen, et al., v. Noem, et
25   al., 3:25-cv-03292 (N.D. Cal. Apr. 18, 2025); Doe 1 v. Trump, et al., 2:25-cv-02825, (D.N.J.
     Apr. 18, 2025); Doe v. Noem, et al., 2:25-cv-01103, ( E.D. Cal. Apr. 17, 2025); Doe v. Noem, et
26   al., 2:25-cv-00633 (W.D. Wash. Apr. 14, 2025); Dogan v. Noem, 1:25-cv-01130 (D.D.C. Apr.
     18, 2025); J. v. Noem, et al., 0:25-cv-01391 (D. Minn. Apr. 17, 2025); Liu v. Noem, et al., 1:25-
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     cv-00133, (D.N.H., Apr. 10, 2025); Mashatti v. Lyons, 1:25-cv-01100, (D.D.C. Apr. 17, 2025);
28   Doe No. 2 v. Trump, et al., 4:25-cv-00175, (D. Ariz. Apr. 15, 2025).
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 1   Plaintiffs SEVIS statuses or the potential unlawful revocation of their F-1 visas may have.”
 2   TRO at p. 22. This does not give Plaintiffs any benefit or status that they did not otherwise
 3   already have, but rather it maintains the status quo of the position Plaintiffs were in prior to
 4   Defendants’ unlawful action—which is the correct point of measurement. See GoTo.com, Inc.,
 5   202 F.3d at 1210. 5
 6              b. Plaintiffs Meet the Standard to Warrant a Temporary Restraining Order.
 7          This Court should follow the scores 6 of other federal district courts that have rejected the
 8   very arguments advanced by Defendants in its opposition to Plaintiff’s motion for a TRO. 7
 9          Plaintiffs have established their entitlement to a temporary restraining order by clearly
10   demonstrating: (1) a likelihood of success on the merits; (2) they will likely suffer irreparable
11   harm in the absence of preliminary relief; (3) the balance of equities tips in their favor; and (4)
12   injunctive relief is in the public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20
13   (2008). Moreover, Plaintiffs at a minimum establish the alternative standard—that they raise
14   “serious questions” as to the merits of their claims, the balance of hardships tip “sharply” in
15   their favor, and the remaining equitable factors are satisfied. Alliance for the Wild Rockies v.
16   Cottrell, 632 F.3d 1127 (9th Cir. 2011).
                         i. Plaintiffs have established a likelihood of success on the merits.
17
18                              1. The termination of Plaintiffs’ SEVIS records constitutes final
                                   agency action.
19
            Contrary to Defendants’ claim, the termination of Plaintiffs’ SEVIS records constitutes
20
     final agency action for purposes of review under the Administrative Procedure Act (“APA”).
21
     Opp. at pp. 9-10. Plaintiffs are aware that SEVIS records are distinct from F-1 nonimmigrant
22
     status, despite Defendants’ suggestion otherwise. Dkt. 1, ¶ 25. However, Defendants appear to
23
     wholly ignore that a noncitizen’s SEVIS status is meaningful, as it is undoubtedly tied to their
24
     5
25     Even if the Court found that Plaintiffs were seeking a mandatory injunction, that standard
     would be met here. Hernandez, 872 F.3d at 998–99. An alleged violation of Plaintiffs’ due
26   process rights and their risk of unlawful detention in violation of those rights constitutes extreme
     or very serious damage that will result in the absence of an injunction. Id. at 999.
27   6
       See Supra n.4.
     7
28     Id.
     S.Y. v. Noem, et al., No. 5:25-cv-03244- JSW
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 1   ability to engage in the actions that are the reason for their presence in the United States in the
 2   first place: continue their studies or employment pursuant to their F-1 nonimmigrant status, be
 3   granted permission to work pursuant to practical training related to their course of study, change
 4   their status to another visa status or immigration status, or otherwise remain in the U.S. without
 5   accumulating any unlawful presence. Defendants’ attempt to argue that the termination of
 6   SEVIS status is legally meaningless is contrary to law, including the U.S. Department of
 7   Homeland Security’s (“DHS”) own interpretation of the law. ZN Decl. at Exh. A (USCIS
 8   NOID) (stating that the noncitizen is no longer in F-1 nonimmigrant status given that ICE
 9   terminated their SEVIS); see also Doe No. 2 v. Trump, et al., 4:25-cv-00175, (D. Ariz. Apr. 15,
10   2025); W.B. v. Noem et al., 25-cv-03407 (N.D. Cal., Apr. 23, 2025) (“The SEVIS termination
11   notice states the action in the absolute; it does not say that the termination of F-1 status is under
12   investigation or that W.B. may lose her F-1 status. Instead, it says that her status is
13   terminated.”).
14          Under the APA, agency action is reviewable where it marks the “consummation” of the
15   agency’s decision-making process and where legal consequences flow from that action—that is,
16   where the action determines rights or obligations. Bennett v. Spear, 520 U.S. 154, 178 (1997).
17   Here, it is clear that the termination of a Plaintiffs’ SEVIS records meets this standard. There is
18   no appeal of the termination of a SEVIS record, in immigration courts or otherwise, because the
19   SEVIS record, and any processes related to that, is collateral to removal proceedings. Multiple
20   courts have already recognized that “termination of the SEVIS registration constitutes a final
21   decision reviewable under the APA.” 8 ZN Decl. at Exh. K (TROs Issued to Similarly Situated
22   Noncitizens); see also Fang v. DHS, 935 F.3d 172, 177 (3d Cir. 2019) (in a letter to plaintiffs,
23   DHS stated, “[s]ince your SEVIS record has been terminated you no longer have valid F-1
24   nonimmigrant status and must either file for reinstatement with [USCIS] or depart the United
25   States immediately.”) (emphasis added). The termination of a SEVIS record therefore
26   constitutes final agency action for purposes of APA review
27   8
      Doe v. Bondi, No. 1:25-cv-01998-VMC, slip op. at 9 (N.D. Ga. Apr. 18, 2025); Doe v. Noem et
28   al., No. 2:25-CV-01103-DAD-AC, 2025 WL 1134977, at *5 (E.D. Cal. Apr. 17, 2025).
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 1          Moreover, Defendants’ position that no legal consequences flow from the termination of
 2   Plaintiffs’ SEVIS records is untenable and defies their own agency interpretation in multiple
 3   ways. First, this position is contradicted by DHS and USCIS’s own published guidance.
 4   According to “Study in the States,” which is DHS’s own website, termination of an F-1 SEVIS
 5   record triggers immediate legal consequences: “The student loses all on and/or off-campus
 6   employment authorization,” “cannot re-enter the United States on the terminated SEVIS
 7   record,” and “any associated F-2 or M-2 dependent records are terminated.” 9 The guidance
 8   further indicates that such termination then requires departure from the country, as it states that
 9   “[ICE] agents may investigate to confirm the departure of the student.” Id. These outcomes
10   directly contradict Defendants’ novel position that SEVIS termination has no bearing on lawful
11   status or eligibility for benefits. These consequences of SEVIS termination alone satisfy the
12   “rights or obligations” test for agency finality. Bennett, 520 U.S. at 178.
13          Second, an active SEVIS record is a mandatory prerequisite for other related benefits,
14   including employment authorization under Optional Practical Training (“OPT”) or submitting
15   an application to change status to another nonimmigrant status. To obtain OPT employment
16   authorization, the Designated School Official (“DSO”) must enter “the recommendation for
17   OPT into a student’s SEVIS record.” 10 Thus, without an active SEVIS record, a student cannot
18   obtain OPT work authorization. Id. see also ZN Decl. at Exh. B (Declaration of Brian Childs,
19   DSO) (termination of SEVIS record results in lose of all on- and off-campus work
20   authorization). The Plaintiffs on OPT at the time of the SEVIS termination were informed that
21   they could no longer work. Students about to graduate and would seek to start their OPT
22   employment would be barred from obtaining that authorization. This is a clear and direct
23   consequence for the students of SEVIS termination.
24
     9
25     U.S. Department of Homeland Security, Study in the States (Nov. 7, 2024),
     https://studyinthestates.dhs.gov/sevis-help-hub/student-records/completions-and-
26   terminations/terminate-a-student.
     10
        U.S. Citizenship and Immigration Services, Optional Practical Training (OPT) for F-1
27
     Students (Nov. 25, 2024), https://www.uscis.gov/working-in-the-united-states/students-and-
28   exchange-visitors/optional-practical-training-opt-for-f-1-students.
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 1          In addition, when a noncitizen in F-1 status seeks to change status to another
 2   nonimmigrant status, such as another kind of work visa, the legal requirement is that the student
 3   or post-graduate worker be currently in lawful nonimmigrant status. 11 To prove that, the U.S.
 4   Citizenship and Immigration Services (“USCIS”)—a component of DHS—requires an active
 5   SEVIS record and valid Form I-20, Certificate of Eligibility for Nonimmigrant Student Status.
 6   Yet, without a valid SEVIS record, a student visa holder cannot obtain a properly endorsed
 7   Form I-20 and thus cannot actually qualify for these benefits—regardless of whether DHS
 8   deems them “technically” in status. This actual consequence of SEVIS termination is made
 9   clear by USCIS itself, in the context of a pending application by a student to change
10   immigration statute, in which USCIS indicated its intention to deny that pending application to
11   change statute to H-1b visa status, specifically because the termination of SEVIS (just as
12   occurred to Plaintiffs here) indicated a failure by that student to maintain the requisite valid
13   immigration status.:
           [R]ecords show that the Department of State revoked the beneficiary’s F-1 visa on
14
           [redacted] 2025. According to the beneficiary’s SEVIS record [SEVIS ID
15         redacted], their F-1 nonimmigrant status was terminated on April 10, 2025
           because of the criminal records check and the revocation of their F-1 visa. . . . It
16         appears that the beneficiary is not in valid F-1 nonimmigrant status, as such, the
           request for a change of nonimmigrant status may not be approved.
17
     ZN Decl. at Exh. A (USCIS NOID). Thus, the position of USCIS itself undercuts the
18
     Defendants’ claimed legal position.
19
            Third, in other similar lawsuits the witness that Defendants rely on in the form of
20
     declaration here, presented testimony that did not actually support Defendant’s claimed
21
     position, leading courts to grant TRO over these positions, while other witnesses clearly
22
     contradicted it. For example, in Patel v. Lyons, 1:25-cv-01096-ACR (D.D.C. Apr. 16, 2025)
23
     Andre Watson (whose declaration is in Dkt. 22-1 here) appeared telephonically to testify. When
24
     Judge Reyes in that case questioned Officer Watson regarding whether “as of this moment,”
25
     “Mr. Patel [is] legally in the United States,” id. at p. 22:22-23, Officer Watson stated that the
26
27   11
        See, e.g., “Change of Status,” DHS Study In the States, available at:
28   https://studyinthestates.dhs.gov/students/complete/change-of-status (last visited Apr. 23, 2025).
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 1   SEVIS termination “in itself…doesn’t terminate his nonimmigrant status at this point,” Id. at
 2   pp. 22-23, but that he “can’t say that he’s legally in the United States. Id. at pp. 22-23. The
 3   Court ask Defendants’ counsel: “Is he [the Plaintiff] lawfully in the United States right now, yes
 4   or no?,” id. at 52:9-10, and the response was, “I’m not able to answer that question, Your
 5   Honor,” id. at 52:11-12. Exasperated, Judge Reyes admonished, “Do you realize this is
 6   Kafkaesque?” Id. at 53:8-9. Judge Reyes granted the TRO in this case one day later. ZN Decl. at
 7   Exh. D Order, Patel v. Lyons, 1:25-cv01096-ACR (D.D.C. Apr. 17, 2025).
 8          On April 18, 2025, at another hearing in Nali v. Noem, et al., 1:25-cv03969 (N.D. Ill.
 9   Apr. 18, 2025), Defendants also filed Watson’s template declaration. ZN Decl. at Exh. E,
10   (Transcript, Nali v. Noem, et al., 1:25-cv-03969, (N.D. Ill. Apr. 18, 2025)), pp. 28-29. The Nali
11   court also qualified as an expert witness Stephen Navarre, an experienced immigration attorney
12   with expertise in employment-based visas and international students. Id. at pp. 22, 56. His
13   testimony helps explain the relevant legal situation of the SEVIS-terminated students.
14          Regarding the consequences of the plaintiff’s terminated SEVIS status, Mr.
15   Navarre testified that: “this is not an opinion; this is a fact. If Mr. Nali's SEVIS system
16   status remains terminated, he is positively, absolutely ineligible to be accorded work
17   authorization by USCIS under the OPT program.” Id. at p. 39. Moreover, schools “cannot
18   independently resurrect that SEVIS record. It's been terminated by the government. Only
19   the government can reactivate that.” Id. at pp. 32-33. Mr. Navarre summarized his
20   opinion as follows: “You cannot participate in this F-1 student program fully without an
21   active SEVIS record.” Id. at 32. The court granted the TRO in this case that same day.
22   ZN Decl. at Exh. F, (Order, Nali v. Noem, et al., 1:25-cv03969 (N.D. Ill. Apr. 18, 2025)).
     12
23
24          Finally, as a practical matter, the termination of SEVIS records of other, similarly
25   situated noncitizens, has been the factual basis on which their incarceration and/or
26
     12
       Defendants cite the only two cases in the country that undersigned Counsel is aware of where
27
     the TRO in a similar case was denied, Opp. at 2, but ignores the dozens of TROs (if not more)
28   that district courts have granted. See ZN Decl. at Exh. K (TRO Orders).
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 1   removal proceedings began 13. The emails received by three Plaintiffs in this action from
 2   the U.S. Department of State—which was also received by many other similarly-situated
 3   students—only confirms this, stating:
            Remaining in the United States without a lawful immigration status can result in
 4
            fines, detention, and/or deportation. It may also make you ineligible for a future
 5          U.S. visa. Please note that deportation can take place at a time that does not allow
            the person being deported to secure possessions or conclude affairs in the United
 6          States. Persons being deported may be sent to countries other than their countries
            of origin.
 7
     Dkt. 1-1 at Exh. C, H, P. ZN Decl. at Exh. H (Declaration of Ami Hutchinson). The
 8
     above message is a generally correct statement of law, but carries a clear meaning when
 9
     sent to an individual whose SEVIS record has just been terminated: that the government
10
     believes the individual is required to leave the country. Otherwise, why assert such
11
     drastic consequences of failing to do so?
12
            The abrupt termination of Plaintiffs’ SEVIS records is a unilateral determination
13
     by Defendants with immediate consequences, and which Plaintiffs have no ability to
14
     appeal or seek administrative review. Under Bennett, when there are no remaining steps
15
     that an immigrant can take to have an action reviewed within the agency, the action is
16
     final and subject to judicial review. Bennett, 520 U.S. at 200.
17
                                 2. Defendants’ actions in termination Plaintiffs’ SEVIS records
18                                   were arbitrary and capricious.

19          Defendants assert that their actions were not arbitrary and capricious because, according

20   to Defendants, 8 U.S.C. § 1372(a)(1) provides DHS unchecked power to terminate students’

21   records as part of conducting the SEVIS program. Opp. at 10. This assertion again implicitly

22   ignores the very real consequences stemming from this unlawful action, as described above.

23   Further yet, this argument fails to account for the fact that, in abruptly terminating Plaintiffs’

24   SEVIS records, DHS provided no prior notice, no individualized explanation, and no

25   opportunity for them to respond—all of which are hallmarks of arbitrary agency action. See

26   13
        See, e.g., Gunaydin v. Trump, 0:25-cv-01151 (D. Minn) (student detained by ICE after
     termination of SEVIS); ZN Decl.at Exh. G (Declaration of Linus Chan) (student detained by ICE
27
     after their SEVIS records were terminated).; Exh. I (TRO issued in Mohammed H., et al., No.
28   25-cv-01576-JWB-DTS, Dkt. 15) (TRO preventing transfer after SEVIS termination).
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 1   Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (“an
 2   agency must examine the relevant data and articulate a satisfactory explanation for its action”);
 3   see also Cota v. United States, 628 Fed. Appx. 500 (9th Cir. Dec. 31, 2015); 8 C.F.R. §
 4   103.2(b)(16). Instead, the government issued vague notices stating that students had “otherwise
 5   fail[ed] to maintain status,” and referencing “criminal records” or visa revocations, often based
 6   on resolved or dismissed matters. This conduct violates DHS’s own regulations, which limit
 7   status terminations to specific, published grounds. See 8 C.F.R. § 214.1(d). Absent any reasoned
 8   explanation or lawful basis, the indiscriminate terminations here clearly violated the APA.
 9                              3. Plaintiffs have a property interest in their SEVIS records.
10          Plaintiffs have a constitutionally protected property interest in their SEVIS registration.
11   See ASSE Int'l, Inc. v. Kerry, 803 F.3d 1059 (9th Cir. 2015) (recognizing protected. property
12   interest in participating in exchange visitor program); Brown v. Holder, 763 F.3d 1141, 1148
13   (9th Cir. 2014) (recognizing protected property interest in nondiscretionary application for
14   naturalization). Defendants’ abrupt termination of Plaintiffs’ SEVIS record deprived them of
15   that protected property interest without due process, in violation of the Fifth Amendment.
16          Defendants created a reasonable expectation that Plaintiffs would be permitted to live
17   and work in the United States without being subject to arbitrary termination of their SEVIS
18   record and the threat of arrest and incarceration if they complied with all conditions of their
19   nonimmigrant visa and status. This reasonable expectation creates constitutionally-protected
20   liberty and property interests. Perry v. Sindermann, 408 U.S. 593, 601–03 (1972) (reliance on
21   informal policies and practices may establish a legitimate claim of entitlement to a
22   constitutionally-protected interest). These interests are entitled to constitutional protections no
23   matter how they may be characterized by Defendants. See, e.g., Newman v. Sathyavaglswaran,
24   287 F.3d 786, 797 (9th Cir. 2002) (“[T]he identification of property interests under
25   constitutional law turns on the substance of the interest recognized, not the name given that
26   interest by the state or other independent source.”) (internal quotations omitted).
27          Defendants rely heavily on Zhao v. Va. Polytechnic Inst. & State Univ., 2018 WL
28
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 1   5018487 (W.D. Va. Oct. 16, 2018), for the proposition that Plaintiffs here did not have a
 2   property interest in their SEVIS record that would implicate due process. Opp. at 11. But Zhao
 3   is inapposite for several reasons. First, as Defendants admit, Zhao dealt with a SEVIS record
 4   modification by a school’s DSO—not the government—which the court described as “clerical
 5   duty performed as a preliminary matter.” Id. at *6. This situation is wholly distinct from what
 6   occurred in Plaintiffs’ case, where ICE, rather than the school, unilaterally made the unlawful
 7   decisions to terminate Plaintiffs’ SEVIS statuses. Second, the Zhao court found that the
 8   termination of the plaintiff’s enrollment—the claimed property interest—was distinct from his
 9   SEVIS status because the university did not prohibit students from enrolling based on their
10   SEVIS status. Here, Plaintiffs immediately lost the ability to work or apply for OPT following,
11   and solely because of, the termination of their SEVIS statuses, and they also became subject to
12   the threat of arrest, incarceration, and deportation. See W.B. v. Noem et al., 25-cv-03407 (N.D.
13   Cal., Apr. 23, 2025) (finding that plaintiff established, at a minimum, serious questions going to
14   the merits of her due process claim). Plaintiffs were therefore entitled to notice and an
15   opportunity to respond before that status was terminated. 14
16                      ii. Neither 8 U.S.C. § 1252(g) nor § 1226(e) are implicated.
17          Defendants argue that 8 U.S.C. § 1252(g) prohibits district courts from hearing
18   challenges to decisions and actions about whether, when, and where to commence removal
19   proceedings, and that § 1226(e) bars relief that would impact where and when to detain a
20   noncitizen. Opp. at 14. Both arguments are meritless, as other courts have already held. See, e.g.,
21   Student Doe v. Noem et al., 2025 WL 1134977 at *8 (E.D. Cal. Apr. 17, 2025).. 8 U.S.C. §
22
23   14
        The other cases cited by Defendants are similarly irrelevant. Opp. at 11, n. 4. S.M. v. Del.
     Dep’t of Educ., 77 F. Supp. 3d 414, 419 (D. Del. 2015), does not deal with SEVIS termination at
24
     all. In Fan v. Brewer, No. 08-cv-3524, 2009 WL 1743824, at *8 (S.D. Tex. June 17, 2009), the
25   plaintiff was expelled from school for not complying with the terms of his status and he sued the
     school—not the government. Finally, in Doe 1 v. U.S. Dep't of Homeland Sec., No.
26   220CV09654VAPAGRX, 2020 WL 6826200, at *4 (C.D. Cal. Nov. 20, 2020), aff'd sub nom.
     Does 1 through 16 v. U.S. Dep't of Homeland Sec., 843 F. App'x 849 (9th Cir. 2021), the
27
     plaintiffs were abroad—not in the United States where they would have constitutional rights—
28   and did not even allege that they had a property interest in their SEVIS accounts.
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 1   1252(g) addresses challenges predicated on purported improper use of discretionary authority to
 2   commence removal proceedings, which is not at issue here. “The Ninth Circuit has held
 3   consistently that Section 1252(g) should be interpreted narrowly.” Sied v. Nielsen, No. 17-cv-
 4   06785-LB, 2018 WL 1142202, at *21 (N.D. Cal. Mar. 2, 2018) (citing United States v.
 5   Hovsepian, 359 F.3d 1144, 1155 (9th Cir. 2004) (en banc)). Where, as here, Plaintiffs challenge
 6   “a purely legal question that does not challenge the Attorney General's discretionary authority,”
 7   1252(g) is no bar to the district court’s consideration of the issue, “even if the answer to that
 8   legal question—a description of the relevant law—forms the backdrop against which the
 9   Attorney General later will exercise discretionary authority.” Hovsepian, 359 F.3d at 1155. The
10   same reasoning applies to § 1226(e) regarding detention. See Jennings v. Rodriguez, 583 U.S.
11   281, 295 (2018) (“As we have previously explained, § 1226(e) precludes an alien from
12   ‘challeng[ing] a “discretionary judgment” by the Attorney General or a “decision” that the
13   Attorney General has made regarding his detention or release.’ But § 1226(e) does not preclude
14   ‘challenges [to] the statutory framework that permits [the alien's] detention without bail.’ ”).
15   Plaintiff does not challenge a discretionary decision to detain him, but rather Defendants’
16   unlawful actions that would be the only pretense on which to detain and place him in removal
17   proceedings. See also Student Doe, 2025 WL 1134977 at *8 (holding § 1252(g) and § 1226(e) do
18   not bar plaintiff’s SEVIS-related claims).
                         iii. Plaintiffs clearly establish a likelihood of immediate irreparable
19
                              harm, and that the balance of harms and public interest weigh in
20                            favor of relief.

21            Defendants’ efforts to downplay the consequences of their actions against Plaintiffs (and

22   similarly situated noncitizens) is astounding. First, Defendants do not even mention the

23   irreparable harm that would result to Plaintiffs if they were arrested, incarcerated, deported, or

24   coerced into self-deporting. Second, the harm Plaintiffs will suffer is not merely a monetary

25   injury “related to their loss of future employment[.]” Opp. at 12 (falsely claiming that Plaintiffs

26   only alleges monetary damages). Third, the harm Plaintiff will suffer is not speculative. Id. at

27   12-13.

28           According to “Study in the States,” which is DHS’s own website, the termination of an
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 1   F-1 SEVIS record triggers immediate legal consequences: “The student loses all on and/or off-
 2   campus employment authorization,” “cannot re-enter the United States on the terminated SEVIS
 3   record,” and “any associated F-2 or M-2 dependent records are terminated.” 15 The guidance
 4   further indicates that such termination then requires departure from the country, as it states that
 5   “[ICE] agents may investigate to confirm the departure of the student.” Id. That Plaintiffs
 6   should simply ignore the guidance of the government agency is an absurd position for
 7   Defendants to take here. Moreover, Defendants have acted swiftly, and without notice, 16 in
 8   recent weeks to detain and deport noncitizens in precisely the same situation as Plaintiffs. ZN
 9   Decl. at Exhs. K, B, G, H. The threat of incarceration and deportation, including to a third
10   country as threatened in email communications sent to three Plaintiffs here, has been deemed
11   sufficient to satisfy the irreparable harm factor for issuing a TRO. See Doe v. Noem, No. 2:25-
12   CV-00633-DGE, 2025 WL 1141279, at *8 (W.D. Wash. Apr. 17, 2025); Student Doe, 2025 WL
13   1134977 at *8. But there is more.
14          In Student Doe, the District Court for the Eastern District of California also found that
15   the loss of or delay in obtaining employment authorization is an irreparable harm. 17Similarly,
16   the Doe court in the Western District of Washington cited cases holding that interruption of a
17
18
     15
19      U.S. Department of Homeland Security, Study in the States (Nov. 7, 2024),
     https://studyinthestates.dhs.gov/sevis-help-hub/student-records/completions-and-
20   terminations/terminate-a-student.
     16
        Defendants do not contest the well-settled principle that a violation of constitutional rights
21   constitutes irreparable injury. Hernandez, 872 F.3d at 995-96 (“It is well established that the
22   deprivation of constitutional rights ‘unquestionably constitutes irreparable injury.’”) .
     17
        Student Doe, 2025 WL 1134977 at *7, citing Casa de Maryland, Inc. v. Wolf, 486 F. Supp. 3d
23   928, 968 (D. Md. 2020), order dissolved sub nom. Casa de Maryland, Inc. v. Mayorkas, No.
     8:20-CV-2118-PX, 2023 WL 3547497 (D. Md. May 18, 2023) (a delay in an asylum seeker
24
     obtaining work authorization is an irreparable harm); Batalla Vidal v. Nielsen, 279 F. Supp. 3d
25   401, 434 (E.D.N.Y. 2018), vacated and remanded sub nom. Dep’t of Homeland Sec. v. Regents
     of the Univ. of California, 591 U.S. 1 (2020) (finding that, if the DACA program were
26   terminated, resulting loss of work authorization for DACA recipients would be an irreparable
     harm); Karakozova v. Univ. of Pittsburgh, No. 09-cv-04582009, 2009 WL 1652469, at *4 (W.D.
27
     Pa. June 11, 2009) (irreparable harm from loss of position because she could lose her H-1B visa
28   and have to leave the country). Student Doe, 2025 WL 1134977 at *7.
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 1   student’s educational program or progress can be an irreparable harm. 18 These deleterious
 2   effects are present here. If Defendants achieve their objective of coercing Plaintiffs to self-
 3   deport, they will be unable to complete their degrees and post-graduate practical training, and
 4   perhaps eventually transition to their full-time employment. That, in turn, will cause economic
 5   and reputation loss wherever they may ultimately reside. Further, Defendants may consider
 6   Plaintiffs to be accruing unlawful presence in the United States because of the SEVIS
 7   revocation, which would similarly result in irreparable harm.
 8            It is unclear whether Defendants’ contention that Plaintiffs are not accruing unlawful
 9   presence is accurate. Opp. at 13. USCIS recently changed its long-standing policy from 2009
10   regarding when unlawful presence begins accruing for those who were admitted for duration of
11   status (D/S), as Plaintiffs were. As of January 25, 2025, the USCIS website reflects that
12   “[n]onimmigrants admitted for duration of status generally begin accruing unlawful presence
13   the day after their status ends, if they remain in the United States.” 19 Previously, an individual
14   admitted in D/S would only begin accruing unlawful presence on the day USCIS denied a
15   request in which it determines a status violation has occurred or on the day an immigration
16   judge issues an order with a finding of a status violation. 20 Because this change was recent,
17   there is uncertainty around how this is being applied in practice at this time, and Defendants
18   may very well change their position later on whenever they believe that doing so would benefit
19   them.
20
     18
        See Doe, 2025 WL 1141279, at *8 Tully v. Orr, 608 F.Supp. 2d 1222, 1225-26 (EDNY 1985)
21   (disenrolling a cadet from U.S. Air Force Academy would be an irreparable harm); Maria v.
22   Loyola Univ. of Chicago Stritch Sch. of Med., No. 24-cv-1698, 2025 WL 96482, at *8 (N.D. Ill.
     Jan. 14, 2025) (accepting that loss of opportunity to participate in psychiatry residency is an
23   irreparable harm); Lujan v. United States Dep’t of Educ., 664 F. Supp. 3d 701, 721 (W.D. Tex.
     2023) (finding that erroneous loss of even one point on Fulbright scholarship application grading
24
     would be an irreparable harm, due to loss of opportunity to obtain scholarship).
     19
25      “Unlawful Presence and Inadmissibility,” USCIS, available at: https://www.uscis.gov/laws-
     and-policy/other-resources/unlawful-presence-and-inadmissibility (last visited Apr. 23, 2025).
26   20
        See USCIS, Interoffice Memorandum on Consolidation of Guidance Concerning Unlawful
     Presence, 13 (May 6, 2009), available at
27
     https://www.uscis.gov/sites/default/files/USCIS/Laws/Memoranda/Static_Files_Memoranda/200
28   9/revision_redesign_ AFM.PDF.
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 1               For these, and many other reasons, 21 including Defendants’ inability to identify any
 2   harm that the government would face were a TRO issued, Plaintiffs will face irreparable harm
 3   absent the granting of injunctive relief.
 4                  c. The Requirements of Rule 65(c) Do Not Apply.
 5        Defendants ask that the Court require Plaintiffs to post security should the court grant the
 6   temporary restraining order or preliminary injunctive relief. Plaintiffs respectfully ask this Court
 7   to find that such a requirement is unnecessary. An order requiring Defendants to refrain from
 8   arresting, detaining, or transferring Plaintiff, and/or to refrain from giving Defendants’ unlawful
 9   actions legal effect do not result in any conceivable financial damages to Defendants. The TRO
10   prevents Defendants from taking actions that would only incur costs to Defendants—such as
11   arresting or detaining Plaintiffs.
12        III.      CONCLUSION
13               For all the aforementioned reasons, the Court should grant Plaintiffs’ motion for a
14   temporary restraining order.
15
16   Dated: April 23, 2025                                            Respectfully submitted,
17                                                                    /s/ Zachary Nightingale
                                                                      Zachary Nightingale
18
                                                                      Marc Van Der Hout
19                                                                    Johnny Sinodis
                                                                      Attorneys for Plaintiffs
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       The potential legal consequences and injuries that flow from SEVIS termination are myriad,
     which are more fully explained and illustrated by two exhibits attached herein that were filed in
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     BK, et al v. Noem, et al., 1:25-cv-00419-JMB-PJG (W.D. Mich.). See Exh. B (Declaration of
28   Brian Childs); ZN Decl. at Exh. A (USCIS NOID) .
     S.Y. v. Noem, et al., No. 5:25-cv-03244- JSW
     PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR TRO
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